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                      UNITED STATES DISTRICT COURT                                         t   c




                    SOUTHERN DISTRICT OF CALIFORNIA
                                                                            I Dt'·'"C' -';)p             i I: 33
                                                                             iC~   tj:..
UNITED STATES OF AMERICA,                   CASE NO. llcr3884-WQH ·,OLllHE~~. :~;\                 't-


                      Plaintiff,                                                                               r   "!




              vs.                           JUDGMENT OF DISMISSAL
 [2] MARLEN MIREYA URIARTE,

                     Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

    an indictment has been filed in another case against the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

~   the Court has granted the motion of the Government for dismissal,
    without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

     of the offense(s) as charged in the Indictment/Information:




          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: DECEMBER 8, 2011
                                              ~~-.--
                                            NITA L. STORMES
                                            UNITED STATES MAGISTRATE JUDGE
